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                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

KOLU STEVENS,
PATRICK GREENHOE, and
CLAUDETTE GREENHOE,
                                                No. 1:18-cv-00757
      Plaintiffs,
                                                HON. PAUL L. MALONEY
v
                                                MAG. JUDGE RAY KENT
MICHIGAN STATE COURT
ADMINISTRATIVE OFFICE, MILTON L.                DEFENDANT MACK’S REPLY
MACK, JR., in his official capacity as          TO PLAINTIFF’S RESPONSE
Administrator of the Michigan State Court        TO DEFENDANT MACK’S
administrative Office, KIM B. MEAD, in his       MOTION FOR SUMMARY
official capacity as Bay County Probate Court          JUDGMENT
Administrator, WILLIAM M. HEFFERAN, in
his official as Antrim County Circuit Court –
Family Division Administrator,

      Defendants.


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      DEFENDANT MACK’S REPLY TO PLAINTIFF’S RESPONSE TO
       DEFENDANT MACK’S MOTION FOR SUMMARY JUDGMENT

      Plaintiffs’ response warrants a short reply. A requestor for records of judicial

proceeding falls under one of two categories: (1) as a party to the judicial

proceedings or (2) as a member of the general public. See United States v. Benchick,

No. 13-20453, 2017 WL 4161106, at *1 (E.D. Mich. Sept. 20, 2017). If the requestor

falls under the first category, then the reason for the request is for litigation

purposes, including appeal. If the requestor falls under the second category, then

the reason for the request is to be informed as to what occurred during the

proceedings. Here, under either category, Plaintiffs’ claim fails.

      First, as a threshold matter, Plaintiffs are parties to the judicial proceedings

for which they are seeking judicial records in the form of original audio recordings.

Plaintiffs Patrick and Claudette Greenhoe seek recordings of the proceedings before

Bay County Probate Court Judge Kenneth W. Schmidt (since retired). (R. 2, Am.

Compl. ¶¶ 9–29, PageID.42–45.) Plaintiff Kolu Stevens seeks recordings of the

proceedings before Antrim County Circuit Court Judge Norman R. Hayes. (R. 2,

Am. Compl. ¶¶ 30–47, PageID.45–48.) In both cases, Plaintiffs claim that the

transcripts of the proceedings were inaccurate—and that they need the audio

recordings to verify their claims. (R. 2, Am. Compl. ¶¶ 13–15 (Greenhoes),

PageID.43; Id. ¶ 34 (Stevens), PageID.46.) In other words, by their own admissions,

Plaintiffs are contesting the veracity of records of state court proceedings.

Notwithstanding these admissions, Plaintiffs want this Court to believe that they

are not trying to challenge the original state court proceedings. Indeed, the logical


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implications of a request to verify the transcript of a state court proceeding is a

subsequent appeal of or collateral attack on that proceeding. But as parties to the

original state court proceedings, Plaintiffs had a opportunities during the course of

litigation and appeal to contest the veracity of the transcriptions. Mich. Ct. R.

8.108. See also Benchick, 2017 WL 4161106, at *1 (“A party therefore has no right

to access a court reporter’s backup audio recording unless there is some reason to

distrust the accuracy of the transcript.”). Now, Plaintiffs are bound by the original

state court proceedings—and as non-prevailing parties to those proceedings, the

Rooker-Feldman doctrine prevents Plaintiffs from now challenging those

proceedings in federal court.

      Second, even entertaining the notion that Plaintiffs are now requesting court

records as members of the general public, Plaintiffs cannot point to any case law

which stand for the proposition that a member of the general public is entitled to

original audio recordings of the proceedings when the transcript is otherwise

available. As set forth in greater detail in the main brief, the right to records of a

judicial proceeding is not a right to original audio recordings of the proceedings.

(R. 13, PageID.103–104.) Moreover, Plaintiffs have not pointed to any Sixth Circuit

precedent which stands for the proposition that a member of the public has stand-

alone right or standing to challenge the veracity of a transcript of a proceeding.

Indeed, it is the parties to the proceeding—not members of the general public—that

would suffer any injury that flows from an erroneous transcript so as to have

standing to challenge the veracity of that transcript. See, e.g., Lance v. Coffman,



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549 U.S. 437, 441 (2007) (“[S]tanding to sue may not be predicated upon an interest

of the kind alleged here which is held in common by all members of the public,

because of the necessarily abstract nature of the injury all citizens share.”

(quotation omitted)). Simply stated, the fact that transcripts for the requested

proceedings are available satisfies the First Amendment guarantees of open public

proceedings. Press-Enter. Co. v. Superior Court of California, Riverside Cty., 464

U.S. 501 (1984).

                    CONCLUSION AND RELIEF REQUESTED

      For the reasons set forth above and in the main brief, this Court should

dismiss Plaintiffs’ Complaint with prejudice.

                                                Respectfully submitted,

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                                                Attorney General

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                           CERTIFICATE OF SERVICE

      I hereby certify that on October 10, 2018, I electronically filed the above

document(s) with the Clerk of the Court using the ECF System, which will provide

electronic copies to counsel of record.

                                              /s/Joseph Y. Ho
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